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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP, BI-        )
LEVEL PAP, AND MECHANICAL                )   Master Docket: Misc. No. 21-1230
VENTILATOR PRODUCTS                      )
LITIGATION,                              )   MDL No. 3014
                                         )
This Document Relates to:                )
                                         )
Amended Master Long Form Complaint for   )
Personal Injuries and Damages, and       )
Demand for Jury Trial (ECF No. 834)      )


       PLAINTIFFS’ RESPONSE TO PHILIPS RS NORTH AMERICA LLC’S
          OBJECTIONS TO THE SPECIAL MASTER’S REPORT AND
      RECOMMENDATION ON THE MOTION TO DISMISS THE AMENDED
        MASTER LONG FORM COMPLAINT FOR PERSONAL INJURIES
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I.     INTRODUCTION

       Philips RS1 has raised ten Objections to the Special Master’s Report and Recommendation

(ECF 2271) (“Report” or “R&R”) on its Motion to Dismiss Plaintiffs’ Amended Master Long

Form and Short Form Complaints for Personal Injuries and Damages.2 See ECF 2315

(“Objections” or “Obj.”). They each lack merit.

       First, Philips objects to the Special Master’s recommendation that Plaintiffs’ negligent

recall claims are not preempted or barred by the primary jurisdiction doctrine (Objection I). But

Philips misses the mark because it relies upon mischaracterizations of the Report’s findings,

ignores the publicly available FDA comments on Philips’ recall efforts, ignores the savings clause

in 21 U.S.C. § 360h(d), and downplays the FDA’s authority to order a recall of unsafe medical

devices. Upon review, it is clear the Special Master understood Plaintiffs’ negligent recall claim

and reached the correct result.

       Next, Philips puts forth a litany of objections (Objections II through X) that pick apart

specific state-by-state determinations that were made after Philips failed to put forth any

meaningful state-by-state analysis or arguments in its Motion to Dismiss. With respect to this

group of Objections, Philips complains about the consequences of its own “shotgun” approach to

its Motion to Dismiss.3 Simply put, the reach of Philips’ Motion was far and wide, generally


1
 Defendants Philips RS North America LLC (“Philips RS”), Koninklijke Philips N.V., Philips
North America LLC, Philips Holding USA Inc., and Philips RS North America Holding
Corporation are referred to collectively herein as “Philips.”
2
  Each personal injury action involves a Master Complaint for Personal Injuries and Damages
(ECF 834) (“Master Complaint”) and an individual Short Form Personal Injury Complaint (“Short
Form Complaint”) that together are deemed the operative complaint for each plaintiff. Pretrial
Order #28 at §II.B.3. Paragraph (“¶”) and Count citations refer to the Master Complaint. The
Master Complaint and Short Form Complaint are collectively referred to as the “Complaint.”
3
 The R&R addresses Philips RS’s Motion to Dismiss Plaintiffs’ Amended Master Long Form and
Short Form Complaints for Personal Injuries (ECF 1345) (the “Motion to Dismiss” or “Motion”).
The remaining Philips’ entities joined in that Motion (ECF 1359 at 4 n.3). Philips RS’s Opening
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challenging numerous states’ laws with respect to many causes of actions even where the law was

clearly not it its favor and often with little or no substantive analysis as to the law of these

challenged jurisdictions. See, e.g., Opp. at 20-22, 26 n.33, 33-37; 7/10/2023 Tr.4 at 22:10-12

(Plaintiffs “envision[ed] . . . with regard to a dismissal motion on the Master Complaint . . . general

crosscutting issues”), 33:6-10 (“the Court is being asked to render advisory opinions on the laws

of 50 states, . . . without a record that’s developed in each of those cases”), 156:22 (“So for 15

jurisdictions, they only cite a statute.”), 195:13-24 (“they cited four cases, but they didn’t point to

any particular state’s law. . . . .”). Having provided the Special Master with little guidance as to

the substance of its arguments, Philips now complains that the Special Master misapprehended

Philips’ position simply because his independent analysis did not reach Philips’ desired result. See

In re: Domestic Drywall Antitrust Litig., 2016 WL 3769680, at *11 (E.D. Pa. July 13, 2016) (“To

the extent Defendants’ one-paragraph argument is an invitation for the Court to comb through all

of Plaintiffs’ consumer protection claims and determine whether the elements have been

adequately pleaded, the Court respectfully declines the invitation.”).

II.    ARGUMENT

       A.      Plaintiffs’ Negligent Recall Claim Does Not Implicate Preemption or Primary
               Jurisdiction (Objection I)

       Philips objects to the Special Master’s finding that Plaintiffs’ negligent recall claim is not

preempted or barred by the primary jurisdiction doctrine. Obj. at 2-3; R&R at 21-28.

       First, Philips suggests that the Special Master was confused by the fact that Plaintiffs’




Brief in Support of that Motion (ECF 1346) is referred to herein as “Opening Brief” or “Br.” and
its Reply Brief in Support of that Motion (ECF 1827) is referred to herein as “Reply.” Plaintiffs’
Opposition to the Motion (ECF 1643) is referred to herein as “Opposition” or “Pls. Opp.”
4
  The July 10, 2023 transcript is attached to Plaintiffs’ Objections to the R&R (ECF 2313)
(“Plaintiffs’ Objections” or “Pls. Obj.”) as Exhibit “A” (ECF 2313-1) (“7/10/2023 Tr.”).


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negligent recall claim has two components alleged in a single count.5 Id. at 2. There is no confusion

that Plaintiffs alleged both negligent failure to recall (i.e., failing to recall the Devices when Philips

became aware of the defect), see ¶¶ 412-20, and negligent recall (i.e., negligently conducting the

recall once a decision was made to recall the Devices), see ¶¶ 412-13, 421-28. Even though Philips

argues now that its preemption argument relates to Plaintiffs’ negligent failure to recall claim,

Obj. at 3, it initially argued that the claims were preempted because Plaintiffs cited the FDA’s

518(a) Order and 518(b) Notice, Br. at 15, which only related to Plaintiffs’ negligent recall claim.

¶¶ 191-92, 412. The Special Master’s citation to these allegations was to directly address

arguments made by Philips, R&R at 21-22, not because of confusion, Obj. at 2.

        Second, Philips argues that there is a mistaken assumption underlying the Special Master’s

findings that the FDA has made a “determination” with respect to the recall. Obj. at 2-3 (citing

R&R at 26). Philips points to the Special Master’s statement that the FDA has “determined” that

“a recall of the Devices is warranted” and “that the Recalled Devices . . . do not comply with

CGMP.” Obj. at 2 (citing R&R at 26). But these two statements are clearly true based upon the

FDA’s pronouncements cited in the Complaint.6 See, e.g., Compl., Ex. 72 (FDA 518(b) Notice);

Ex. 136 (FDA 518(a) Order); ¶¶ 125-26 (regarding GMP); ¶¶ 191-94, 300 (FDA notice regarding

the recall); ¶¶ 286-90, 423 (FDA describing inadequacy of Philips’ recall efforts).

        Primary Jurisdiction. Philips’ objection to the Special Master’s primary jurisdiction


5
 There is nothing improper about including two claims in a single count. Pls. Obj. at 8 & n.10; see
also Javo Beverage Co., Inc. v. Javy Coffee Co., 2023 WL 387587, at *2 (D. Del. Jan. 25, 2023);
Abubakari v. Schenker, 2021 WL 1617159, at *3 (D. Conn. Apr. 26, 2021); Butela v. Midland
Credit Mgmt. Inc., 341 F.R.D. 581, 592 (W.D. Pa. 2022).
6
  As recently as October 5, 2023, the FDA has reiterated that it is dissatisfied with Philips’ recall.
See, e.g., Toby Sterling and Piotr Lipinski, “US FDA still not satisfied with Philips recall; stock
falls over 9%,” Reuters, available at https://www.reuters.com/business/healthcare-
pharmaceuticals/fda-says-it-is-not-satisfied-with-philips-breathing-device-recall-2023-10-06/
(last accessed Nov. 26, 2023).


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finding does little more than reargue the Baykeeper7 factors. See Obj. at 2-3; Opp. At 17-18. The

weight of Philips’ argument relies on its mischaracterization of the Special Master’s treatment of

the FDA action with respect to the recall. Philips does not dispute the Special Master’s findings

that “[w]hether Respironics failed to act with reasonable care in undertaking the recall is the type

of issue that falls squarely with the conventional experience of judges,” R&R at 26 (first Baykeeper

factor), and “the key issues in the negligent recall claim are whether Respironics had a duty and

whether [it] violated that duty—issue[s] well within the domain of the court,” id. (second

Baykeeper factor). These core findings illustrate why the Special Master’s recommendation was

correct.8

          Philips also objects that the Special Master improperly cited to the savings clause in 21

U.S.C. § 360h(d) with respect to the third Baykeeper factor. Obj. at 3. The Special Master’s citation

to this provision was not controlling, but even if it were, it evidences Congressional intent that

liability was not to be exclusively federal. R&R at 27. Moreover, Philips overstates the Supreme

Court’s opinion in Riegel v. Medtronic, Inc., 552 U.S. 312, 325 n.4 (2008). In Riegel,9 the Supreme

Court did not “reject[] an overly broad reading of Section 360h(d)” but instead reached the

unremarkable conclusion that reading the savings clause to mean that no state-law claims were

preempted would render the MDA’s express preemption provision meaningless. Id. This does not

diminish that Congress expressed the clear intent for there to be liability for recall-related claims

under state law. 21 U.S.C. § 360h(d); see also Riegel, 552 U.S. at 325 n.4 (Ginsberg, dissenting).


7
    Baykeeper v. NL Indus., Inc., 660 F.3d 686, 691 (3d Cir. 2011) (Vanaskie, J.).
8
 Abstention on primary jurisdiction grounds is rare, see Baykeeper, 660 F.3d at 691, and “courts
generally do not defer jurisdiction where plaintiffs seek injury to their property or person.” In re
Methyl Tertiary Butyl Ether Prod. Liab. Litig., 175 F. Supp. 2d 593, 618 (S.D.N.Y. 2001).
9
 Philips cites almost exclusively cases dealing with express preemption. The issue here is one of
implied preemption, not express preemption.


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       Preemption. Philips’ objection to the Special Master’s recommendation on preemption is

similarly misguided. Philips argues that Plaintiffs’ negligent failure to recall claim seeks to impose

a mandatory recall when the FDA regulations only call for a voluntary recall and, therefore, such

a requirement would be “in addition to” those imposed by federal law. Obj. at 3. As the Special

Master properly determined, because this is an implied preemption case, the claims are not

preempted so long as they are rooted in state law duties and those state law duties are consistent

with federal duties (this is a conflict preemption case and there is no preemption unless complying

with state law duties conflicts with federal obligations). R&R at 18-19. Here, the FDA has

substantial authority to act when “a device ‘presents an unreasonable risk of substantial harm to

the public health’ and that notice of the defect ‘would not . . . eliminate the unreasonable risk.’”

Riegel, 552 U.S. at 338-39 (citing 21 U.S.C. §§ 360h(b)(1)(A), (b)(2), (e)) (Ginsberg, dissenting).

In that circumstance, “the FDA may order the manufacturer to repair the device, replace it, refund

the purchase price, cease distribution, or recall the device.” Id. (emphasis added). Therefore, any

state court finding that Philips’ failure to recall the Devices after learning they were defective and

posed a substantial health risk to customers was negligent would not be based on obligations under

federal law but on state law duties that are not in conflict with federal law.

       B.      Plaintiffs’ Negligent Failure to Recall Claim Under Illinois and Oklahoma
               Law Should Not Be Dismissed (Objection II)

       Philips objects that the Special Master should have recommended dismissal of Plaintiffs’

negligent failure to recall claim under Illinois and Oklahoma law. Obj. at 4. In its Opening Brief,

Philips devoted only one paragraph to arguing for dismissal of Plaintiffs’ negligent failure to recall

claim under the laws of ten states, relying mostly on a string cite of cases with no parentheticals in

its Table A(1). Br. at 18 & Table A(1). The R&R shows that the Special Master reviewed Philips’

two relevant cases—one from Illinois and one from Oklahoma—and those cited by Plaintiffs and



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found that Philips’ argument lacked merit. R&R at 37-38; see Opp. at 19 & Chart-1. Once again,

Philips barely offers an argument. Obj. at 4.

       Instead, Philips’ lone attack is on the authority cited by Plaintiffs and relied on by the

Special Master that Philips argues concerns only a “general negligence claim.” Obj. at 4 (emphasis

removed). However, Smith v. BOC Grp. PLC, concerned a claim that “Defendants acted

negligently in . . . failing to recall these products.” 2001 WL 477237, at *5 (N.D. Ill. May 4, 2001)

(emphasis added). And In re Gen. Motors LLC Ignition Switch Litig. concerned a claim for

negligent “delay in recalling” defective products. 154 F. Supp. 3d 30, 44 (S.D.N.Y. 2015)

(emphasis added). Thus, both concern the same type of claim Plaintiffs assert here and the Special

Master’s evaluation of Illinois and Oklahoma law was sound.

       C.      Plaintiffs’ Negligence Per Se Claim Should Not be Dismissed (Objection III)

       Philips objects that the Special Master did not properly analyze whether negligence per se

is a recognized cause of action under nine jurisdictions’ laws.10 Obj. at 4-5. Philips argues that the

Special Master failed to analyze the law of seven states, but Philips itself performed no such

analysis. Br. at 38-39. Instead, Philips committed a single paragraph in its Opening Brief to argue

for dismissal of claims from 26 states, relying mostly on a string cite of cases in its Table G(1)

with no parentheticals or explanation of each case’s relevance. Id. & Table G(1). Philips’

Objections also offer almost no analysis. Obj. at 4-5.

       Philips does not contend that negligence per se is not a viable theory under these

jurisdictions’ laws; Philips contends only that negligence per se must be asserted in relation to a

negligence cause of action, not as a separate cause of action. Br. at 38-39. Philips does not explain



10
   Those nine jurisdictions are: Arizona, Arkansas, Maine, Nebraska, New Mexico, Oregon, Rhode
Island, Utah, and Wisconsin.


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why this distinction makes any practical difference as negligence per se under the laws of these

nine jurisdictions will remain in the case regardless of what the Court finds. Opp. at 39. Philips

provides minimal, if any, substantive discussion on this issue. Obj. at 4-5.

       Arizona. Under Arizona law, negligence per se is not a separate cause of action from

negligence, but it may be pleaded separately. See Craten v. Foster Poultry Farms Inc., 305 F.

Supp. 3d 1051, 1054 & n.2, 1064-65 (D. Ariz. 2018) (denying summary judgment on separately

pleaded negligence and negligence per se counts).

       Arkansas, Maine, Nebraska, Rhode Island, and Utah. Philips contends that under the

laws of these states, the violation of a statute is evidence of negligence rather than negligence per

se. See Obj. at 5. This argument goes to the evidentiary standards for negligence and negligence

per se, not whether negligence per se can be pleaded as a separate claim. The Report’s conclusion

that Arkansas law “integrate[s] negligence per se claims into basic negligence claims, but do[es]

not mandate that separately pled negligence per se claims be dismissed for that reason[,]” R&R at

43, applies with equal force to the laws of all five of these states.

       New Mexico and Oregon. Without substantive discussion, Philips cites one case for each

of these states. Each of the two cases contain a separately pleaded negligence per se claim that was

dismissed on the ground that negligence per se should not be separately pleaded. See Gatewood v.

Est. of Thompson, 2019 WL 4889161, at *2 (D.N.M. Oct. 3, 2019) (“the Court will evaluate

Plaintiffs’ claim against Defendant Kays both under an ordinary negligence standard and

according to a theory of negligence per se.”); Hammick v. Jacobs, 2020 WL 6135464, at *1 (D.

Or. Oct. 19, 2020) (denying summary judgment regarding “claims for common law negligence

and negligence per se”).

       Wisconsin. Without substantive discussion, Philips relies on D.L. by Friederichs v.




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Huebner, 329 N.W.2d 890, 917 (Wis. 1983), which defines negligence per se and distinguishes it

from absolute liability but says nothing to suggest that negligence per se is not a viable claim.

       D.      Plaintiffs’ Negligent Misrepresentation Claim Under Minnesota Law Should
               Not Be Dismissed (Objection IV)

       Philips objects to the Special Master’s recommendation that the Motion to Dismiss

negligent misrepresentation under Minnesota law be denied. Obj. at 5-6. Philips, having devoted

a total of two sentences and a few Case Citation Tables to this issue, now complains that the Special

Master’s thoughtful and lengthy analysis fails to comprehend Philips’ argument. Id.; see also Br.

at 32-33 & Tables E(3) and E(4); see also Reply Table C(2). In fact, Philips contends that the

Special Master mischaracterized its argument by saying that Philips was arguing that a negligent

misrepresentation claim “is only available in the context of a business relationship in Minnesota,”

Obj. at 5 (quoting R&R at 61), when Philips’ own Case Citation Table on the topic was titled

“Jurisdictions that limit negligent misrepresentation cause of action to business transactions,”

Table E(4) (emphasis added).

       But the Special Master correctly acknowledged that the law in Minnesota on this issue is

unclear. As Plaintiffs argued, the Minnesota Supreme Court has neither adopted nor rejected

Restatement (Second) of Torts, § 311 dealing with “Negligent Misrepresentation Involving Risk

of Physical Harm.” Opp. at 32 & Chart-8; see also Smith v. Brutger Cos., 569 N.W.2d 408, 414

(Minn. 1997) (“While we do not foreclose the possibility of recognizing in Minnesota the tort of

negligent misrepresentation involving the risk of physical harm, we decline to do so today.”). In

addition, some cases have allowed a negligent misrepresentation claim in certain circumstances.

E.g., R&R at 61. And, the factual premise of Philips’ argument is flawed because pecuniary loss

can still exist in the personal injury context (e.g., medical bills, lost wages, etc.). ¶ 592

(“compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’



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fees, and such other relief as the Court deems equitable and just”). The Special Master was correct

to determine that the “lack of clarity” in the governing law and “the deferential standard of a

motion to dismiss” weighed in favor of recommending against dismissal. R&R at 61.

        E.      Plaintiffs’ State Consumer Protection Claims Should Survive Philips’ Rule
                9(b) Challenge (Objection V)

        Philips objects that the Special Master should have recommended dismissal of all of the

consumer protection claims under Fed. R. Civ. P 9(b) for failure to plead fraud with particularity.

Obj. at 6. Philips’ argument is flawed in the first instance. As explained in Plaintiffs’ Objections,

the Report wrongly recommended dismissal of Plaintiffs’ fraud claims because, among other

things, it failed to appreciate that Plaintiffs alleged fraud by omission. Pls. Obj. at 3-7. To the

extent that any of the state consumer protection statutes at issue sound in fraud, and therefore,

require satisfaction of Rule 9(b), Plaintiffs satisfied that standard. See, e.g., id.; Opp. at 34.

        Unlike claims of common law fraud, however, claims under state consumer protection

statutes are rooted in separate statutes enacted in the individual states. While the elements of these

claims largely overlap because they are based on uniform statutes, Opp. at 33, the substantive law

governing each statute determines whether such a claim sounds in fraud, and simply put, not all

state consumer protection claims sound in fraud. See R&R at 76 n.11; see, e.g., Pleasant v.

McDaniel, 550 S.W.3d 8, 12 (Ark. App. 2018) (as an ADTPA action is “not a ‘fraud’ action, Rule

9(b) is not the proper pleading standard). So, before compliance with Rule 9(b) is evaluated, Philips

must first establish that Rule 9(b) applies to particular consumer protection statutory claims.

        Philips casts blame on the Special Master for not conducting a jurisdiction-specific

analysis, Obj. at 7, but Philips itself made no such effort. Philips devotes two sentences to this

argument in its Opening Brief with citation only to the false advertising laws of two states—

Minnesota and Florida. See Br. at 33 & n.39. In total, between its Opening Brief, Reply and oral



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argument, Philips only referenced the laws of a mere six of the more than 50 jurisdictions at issue.

See id.; Reply at 23; 7/10/2023 Tr. at 169:24-170:8. Philips attempts to remedy this problem with

a string cite in a footnote in its Objections that offers no context or argument. Obj. at 7-8 n.8. This

woefully underdeveloped argument based on nothing more than Philips’ ipse dixit should be

rejected. See Brackbill v. Ruff, 2018 WL 2322014, at *6 (M.D. Pa. May 22, 2018) (declining to

address underdeveloped argument).

       F.      Plaintiffs’ State Consumer Protection Claims Should Survive Philips’
               Objection that the Devices Are Not “Consumer Goods” (Objection VI)

       Philips objects that the Special Master erred in rejecting its argument that the Recalled

Devices—personal use products that sit by a person’s bedside—are outside the scope of the term

“consumer goods” under the consumer protection statutes of 24 jurisdictions. Obj. at 8. Even

though these statutes are individual state laws, Philips makes no effort to explain how any state’s

law is inconsistent with the Special Master’s analysis and instead falls back on citation to its prior

briefing which itself failed to meaningfully address the separate laws of these jurisdictions. Id.

       In support of its inadequately developed argument, Philips relies on nothing more than the

statutes’ language that they apply to “goods or services for personal, family, or household use,”

Obj. at 8, even though that argument only begs the question of whether the Recalled Devices

constitute “goods for personal use,” under a particular state’s law. There is no basis to conclude

that the Recalled Devices fall outside of the plain language meaning of “goods for personal use,”

such that the issue should be decided in Philips’ favor. See, e.g., Opp. at 35-36 & Chart-15.

       The Report analyzes the core question of whether the Devices are “consumer goods” under

these statutes by conducting a jurisdiction-by-jurisdiction analysis and carefully addressing and

rejecting Philips’ narrow and unsupported construction of the law. R&R at 92-105. Instead of

accepting that result, Philips blames the Special Master for failing to conduct an appropriate



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analysis when the jurisdiction-by-jurisdiction analysis in the Report is vastly more detailed than

anything Philips presented in its papers. Br. at 35 & Table F(7); Reply at 21. Simply put, this is

another example where Philips made an undeveloped argument with little support, and then was

dissatisfied when the Special Master ruled against it. As shown by Plaintiffs’ briefing and the

Special Master’s fulsome analysis, Philips is wrong on the law.

       G.      Philips’ Objection Regarding Pre-Suit Notice Should be Rejected (Objection
               VII)

       Philips objects to the Special Master’s finding that whether Plaintiffs have adequately

provided pre-suit notice with respect to Plaintiffs’ warranty claims and consumer protection claims

in certain states, is a question of fact to be determined after discovery. Obj. at 9-10; R&R at 112-

13. To date, Philips has done nothing more than make bold and conclusory statements about the

type of notice provided and has not attempted to discuss whether any exceptions to those state-

specific notice requirements apply. Philips casts blame on the Special Master, claiming he

“mischaracterizes” its argument as challenging the sufficiency of the notices, Obj. at 9, when, in

fact, that is one of two arguments Philips made with respect to the notice, Br. at 36 (“the letters

were neither sent pre-suit nor compliant with the relevant statutes”). After failing to analyze the

law of each of these states, Philips’ criticism of the Special Master is unwarranted. See Francis v.

Gen. Motors, LLC, 504 F. Supp. 3d 659, 691-92 (E.D. Mich. 2020) (explaining that “caution is

called for” in addressing underdeveloped argument).

       Plaintiffs have consistently argued that this issue is a factual question not best decided on

a motion to dismiss because each of the states that Philips claims have unsatisfied notice

requirements provide for many forms of notice and also contain exceptions to the notice

requirement. See Opp. at 25-26, 36-37 & Chart 17. Philips is simply trying to have the Court

improperly make an evidentiary ruling at this early stage as to the sufficiency of notice and the



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applicability of any exceptions thereto. See Francis, 504 F. Supp. 3d at 691-92.

       Philips does not raise the larger issue discussed at oral argument with respect to notice

requirements in the context of a Master Complaint. See 7/10/2023 Tr. at 164:12-167:9. Here, even

the letters Philips cites were sent prior to the filing of the Master Complaint, and if Philips’

argument were to be accepted, either no Plaintiff could bring these claims because the first Plaintiff

to file an action failed to comply with pre-suit notice requirements or every individual Plaintiff

who filed a Short Form Complaint would need to individually and independently serve pre-suit

notice prior to filing its Complaint, which would be horribly inefficient and defeat the purpose of

the processes set up for filing streamlined Complaints in this MDL. Id.

       H.      Plaintiffs’ Negligent Manufacturing Claim Should Not Be Dismissed
               (Objection VIII)

       Philips objects that the Special Master erred in recommending against dismissal of

Plaintiffs’ negligent manufacturing claim because, according to Philips, violation of good

manufacturing practices and related duties is insufficient to state a claim for negligent

manufacturing. Obj. at 10-12; see also Br. at 28-29. Plaintiffs have argued that the Complaint

adequately alleges a negligent manufacturing claim because it lays out in detail not only Philips’

conduct with respect to the Recalled Devices and the injuries flowing from that conduct, but also

how the manufacturing of the Devices violated federal and state duties and otherwise fell below

reasonable standards. See Opp. at 30-31. In addition, Plaintiffs argued that manufacturing defect

claims are better decided after discovery, as “information related to the manufacturer’s intention

is within the sole possession of the manufacturer.” Cummings v. FCA US LLC, 401 F. Supp. 3d

288, 314 (N.D.N.Y. 2019). At oral argument, the Special Master summed it up well asking counsel

for Philips: “Could you construct an argument that they have to comply with sound manufacturing

practices or good manufacturing practices, and that requires that they do adequate testing of



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materials that they incorporate into their product and they were negligent in testing the materials

so that goes to manufacturing negligence and manufacturing[?]” 7/11/2023 Tr., attached hereto as

Exhibit “A,” at 19:21-20:2. Ultimately, the Special Master correctly agreed with Plaintiffs,

allowing the negligent manufacturing claim to proceed while discovery is ongoing.

       I.      Plaintiffs’ Express Warranty Claim Should Not Be Dismissed (Objection IX)

       Philips objects to the Special Master’s recommendation that Plaintiffs’ express warranty

claims should survive, by falling back on its argument, repeated throughout its briefing, that the

warranty at issue is for “workmanship and materials,” which, according to Defendant, excludes

design defect claims. Obj. at 12-14; Br. at 19-20; Reply at 6-7. Legally, Philips’ argument is

flawed. Philips’ Opening Brief made no specific state-by-state argument, instead relying on the

premise that this “workmanship and materials” rule was inviolate. When Plaintiffs pointed out that

not all state laws drew such a distinction, Opp. at 21-22, Philips responded with a Table citing nine

cases with no explanation or parentheticals that supposedly addressed the law of 43 jurisdictions,

Reply at 6 n.5 & Reply Table A(1). Philips did not develop this argument, and Plaintiffs had no

opportunity to meaningfully respond. 7/10/2023 Tr. at 195:3-196:6.

       Notwithstanding the undeveloped argument, the Special Master properly found that

determining the scope of the defect was best left for after discovery. R&R at 122-24. For the

reasons discussed in Section II.H above, the Special Master’s determination was sound.

Regardless, the factual deficiency in Philips’ argument mainly addresses the import and meaning

of language in the warranty itself. Id. The warranty went beyond just “workmanship and

materials,” because Philips actually warranted that the Devices “will perform in accordance with

the product specifications” which, in Plaintiffs’ view, indicated a representation with respect to

design defect. Opp. at 21-22. In addition, at oral argument, it was discussed how the language of




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the warranty was incessantly caveated making it impossible for a reasonable person to determine

if the limitations therein even applied to them. E.g., 7/10/2023 Tr. at 197:2-7 (after claiming it did

not apply to liability for, among other things, consequential damages, the warranty states that

“[s]ome states do not allow the exclusion or limitation of incidental or consequential damages. So

the above limitation or exclusion may not apply to you.”). These ambiguities should be resolved

against Philips. See Daniel v. Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015).

       J.      The Report Properly Interprets Pennsylvania Law Regarding Comment K
               (Objection X)

       Philips objects to the Special Master’s determination that Pennsylvania law would not bar

strict liability claims involving prescription medical devices based on comment k. Obj. at 14-15;

see also R&R at 140-41, 148-49. Simply put, the Special Master accepted Plaintiffs’ well-reasoned

position that Philips was relying upon old caselaw that failed to account for recent developments

in Pennsylvania law. R&R at 148-49. Philips repeats that mistake in its Objections. Obj. at 14-15.

       Philips’ argument is rooted in this Court’s prior decisions in Killen v. Stryker Spine, 2012

WL 4498865 (W.D. Pa. Sept. 28, 2012) and Kline v. Zimmer Holdings, Inc., 2013 WL 3279797

(W.D. Pa. June 27, 2013). As Plaintiffs explained and the Special Master understood, there have

been significant developments in the law since the Court’s decisions in those case. Opp. at 26-28.

Killen and Kline were based on an opinion from the Pennsylvania Superior Court, Creazzo v.

Medtronic, Inc., 903 A.2d 24 (Pa. Super. Ct. 2006), that has been subsequently called into question.

See, e.g., Gross v. Coloplast Corp., 434 F. Supp. 3d 245, 250-51 (E.D. Pa. Jan. 17, 2020) (referring

to Tincher v. Omega Flex, Inc., 104 A.3d 328, 396 (Pa. 2014) and Lance v. Wyeth, 85 A.3d 434,

452 n.21 (Pa. 2014)). These cases “undermine Creazzo’s persuasive force and suggest that the

Pennsylvania Supreme Court would not apply comment k to categorically exempt all prescription

medical devices from strict liability claims.” Patchcoski v. W.L. Gore & Assocs., Inc., 2020 WL



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4335016, at *9 (M.D. Pa. July 28, 2020).

        Chief Judge Hornak recently recognized the importance of Tincher and Lance when he

declined to follow Creazzo and held that, in light of Tincher and Lance, the Pennsylvania Supreme

Court “likely would conclude that strict liability claims are cognizable against medical device

manufacturers, and that the extension of comment k to bar strict liability claims may only apply as

to certain medical devices and only when as evaluated on a case-by-case basis and only after

consideration of the full and developed factual record.” Cohen v. Johnson & Johnson, 634 F. Supp.

3d 216, 228 (W.D. Pa. 2022) (Hornak, J.). Contrary to Philips’ argument, Judge Hornak engaged

in a thoughtful analysis of the applicable law and reached a conclusion consistent with that of other

judges in this district who have analyzed comment k in light of Tincher and Lance. See Moultrie

v. Coloplast Corp., 2020 WL 1249354, at *10 (W.D. Pa. Mar. 16, 2020) (Dodge, J.); Schrecengost

v. Coloplast Corp., 425 F. Supp. 3d 448, 465 (W.D. Pa. 2019) (Gibson, J.).

        Finally, contrary to Philips’ argument, Obj. at 15, the Report does not improperly expand

liability under Pennsylvania law in violation of the Erie doctrine. The Pennsylvania Supreme Court

has explained that under Pennsylvania law “[n]o product is expressly exempt [from strict liability]

and, as a result, the presumption is that strict liability may be available with respect to any product,

provided that the evidence is sufficient to prove a defect.” Tincher, 104 A.3d at 382 (citing

Restatement (Second) of Torts § 402A cmt. B). Thus, where no immunity from strict liability

exists under the common law, or where the Pennsylvania legislature has not created immunity,

“the default general rule of possible liability operates.” Id. at 396 (internal citation omitted).

III.    CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court overrule Philips’

Objections and adopt the Report and Recommendation with the exceptions set forth in Plaintiffs’

Objections.


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DATED: November 30, 2023                          Respectfully submitted,

/s/ Sandra L. Duggan                           /s/ Steven A. Schwartz
Sandra L. Duggan, Esquire                      Steven A. Schwartz, Esquire
LEVIN SEDRAN & BERMAN LLP                      CHIMICLES SCHWARTZ KRINER &
510 Walnut Street, Suite 500                   DONALDSON-SMITH LLP
Philadelphia, PA 19106                         361 West Lancaster Avenue
(215)592-1500 (phone)                          One Haverford Centre
sduggan@lfsblaw.com                            Haverford, PA 19041
                                               (610) 642-8500 (phone)
/s/ Christopher A. Seeger                      steveschwartz@chimicles.com
Christopher A. Seeger, Esquire
SEEGER WEISS LLP                               /s/ Kelly K. Iverson
55 Challenger Road, 6th Floor                  Kelly K. Iverson, Esquire
Ridgefield Park, NJ 07660                      LYNCH CARPENTER, LLP
(973) 639-9100 (phone)                         1133 Penn Avenue, 5th Floor
cseeger@seegerweiss.com                        Pittsburgh, PA 15222
                                               (412) 322-9243 (phone)
                                               kelly@lcllp.com

                                 Plaintiffs’ Co-Lead Counsel

/s/ D. Aaron Rihn                            Peter St. Tienne Wolff, Esquire
D. Aaron Rihn, Esquire                       PIETRAGALLO GORDON ALFANO
ROBERT PEIRCE & ASSOCIATES,                  BOSICK & RASPANTI, LLP
P.C.                                         One Oxford Centre - 38th Floor
707 Grant Street, Suite 125                  Pittsburgh, PA 15219
Pittsburgh, PA 15219                         (412) 263-2000 (phone)
(412) 281-7229 (phone)                       (412) 263-2001 (fax)
(412) 281-4229 (fax)                         psw@pietragallo.com
arihn@peircelaw.com
                            Plaintiffs’ Co-Liaison Counsel




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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on November 30, 2023, and is available for download by all counsel of

record.


                                                  /s/ D. Aaron Rihn
                                                  D. Aaron Rihn
                                                  PA I.D. No.: 85752
                                                  ROBERT PEIRCE & ASSOCIATES, P.C.
                                                  707 Grant Street
                                                  Suite 125
                                                  Pittsburgh, PA 15219
                                                  Tel: 412-281-7229
                                                  Fax: 412-281-4229
                                                  arihn@peircelaw.com




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